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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                          NO. 4:14-CR-00114-4 DPM

ROBERT EUGENE THORN

                                            ORDER

       Pending before the Court is a motion for issuance of a summons and revocation of

pretrial release (d.e. #371). For good cause shown, the motion for issuance of a summons is

GRANTED. The Clerk is directed to issue a summons to Defendant Robert Eugene Thorn for

appearance at a hearing before United States Magistrate Judge J. Thomas Ray on July 31, 2015,

at 10:30 a.m., to show cause why his pretrial release should not be revoked.

       IT IS SO ORDERED this 28th day of July, 2015.




                                             UNITED STATES MAGISTRATE JUDGE
